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SAM SHAPIRO                                                                                     MICHELE YANKSON


                                                              July 18, 2019

    Via ECF

    Honorable Lorna G. Schofield
    United States District Judge
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, NY 10007

                     Re:    Razzoli v. City of New York, et al., No. 16 Civ. 7136 (LGS)

    Dear Judge Schofield,

            This firm represents the Hunts Point Terminal Market defendants. I write in response to
    Plaintiff pro se Kevin Razzoli’s letter (ECF # 108) which appears to seek “sanction” against me
    for either failing to communicate with Mr. Razzoli and/or for alleged “perjury.” There is no
    basis for any sanctions.

            First, I have asked Mr. Razzoli to communicate with me about this case via email.
    Because Mr. Razzoli is pro se and has a pattern of threatening me and my clients, as well as of
    misrepresenting the content of our communications, I want there to be a clear, written record of
    what is said by him and by me. Most recently, on July 10, I received a voicemail from Mr.
    Razzoli that was left at 4:15 p.m. and threatened me with sanctions if I did not return his call by
    5:00 p.m. that day. At 5:41 p.m., Mr. Razzoli also sent me an email, which I responded to
    approximately one hour later. A true and correct copy of this email exchange is attached. As it
    shows: 1) there was no imminent emergency that required me to contact Mr. Razzoli by 5:00
    p.m. on July 10; 2) there is no basis for saying I am not responsive to Mr. Razzoli; and 3) Mr.
    Razzoli is capable of communicating via email, which is a medium more likely to encourage a
    professional tone and discourage inappropriate threats.

            Second, I have not misled the Court, much less engaged in any “perjury.” I have
    truthfully reported over the last few months on my efforts to learn more about the status of Mr.
    Razzoli’s criminal appeal, which was difficult because my clients are not parties to that appeal
    and because Mr. Razzoli did not respond to my requests that he provide proof of the status of the
    appeal.
            I respectfully request that Mr. Razzoli’s request for sanctions be denied. If the Court
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requires any further information from me, I would be happy to provide it.


                                                    Respectfully submitted,

                                                           /s
                                                    Zoe Salzman

c.     Kevin Razzoli (via U.S. Mail)             Nicholas Manningham, Esq. (via ECF)
       19 Fort Place                             New York City Law Department
       Staten Island, NY 10301                   100 Church St.
                                                 New York, NY 10007
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From:             Kevin Razzoli
To:               Zoe Salzman; npacia@truccodirect.com; Peter Lolis; Monica Huang
Subject:          Re: Letter addressed to Judge ie : emailed to you effecting service
Date:             Wednesday, July 10, 2019 8:44:02 PM


Ms Salzman
I did not threaten you ,it is legally sound
To take such measures and it is in accordance with law defined in rules of civil procedure
....Thank for such a fast response since in the past you have not

Il mer 10 lug 2019, 6:39 PM Zoe Salzman <zsalzman@ecbalaw.com> ha scritto:

  Mr. Razzoli,



  I received a voicemail from you today that was left at 4:15 threatening me with “sanctions”
  if I did not call you by 5:00 today. I am a busy attorney with many cases. In addition, as I
  have said to you many times before, I prefer to communicate with you in writing so that
  there is a clear record of what is said.



  Please do not threaten me. It is not appropriate and your pattern of threatening behavior is
  another reason why I prefer that our communications be in writing.



  Judge Schofield issued an order today directing us to file a joint status report on September
  2. I’ve attached the court order here for your records. I will email you shortly before
  September 2 to prepare the status report together.



  I am not aware of anything we need to discuss until then. If there is anything you need to
  communicate to me before then, you can write it to me in an email and I will promptly
  respond, as I have responded to your prior emails.



  Thank you,




  Zoe Salzman

  Partner

  Emery Celli Brinckerhoff & Abady LLP

  600 Fifth Avenue, 10th Floor
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From: Kevin Razzoli <kevinrazzoli1965@gmail.com>
Sent: Wednesday, July 10, 2019 5:41 PM
To: Zoe Salzman <zsalzman@ecbalaw.com>
Subject: Letter addressed to Judge ie : emailed to you effecting service



    Ms Salzman

  You repeatedly reuse to answer phone calls for over 3 years involving this case therefore
violations of Courts Order Exist !

     Call me again at 718 406 2155
